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     Mavrix Photo, Inc.
 8
                                   UNITED STATES DISTRICT COURT
 9
                                 CENTRAL DISTRICT OF CALIFORNIA
10
11
     MAVRIX PHOTO, INC., a Florida                        Case No. 09-2729 PSG (JCx)
12   corporation,
                                                          DECLARATION OF PETER
13                                                        AFRASIABI IN SUPPORT OF
                Plaintiff,                                OPPOSITION TO DISMISS
14   v.                                                   COMPLAINT FOR LACK OF
                                                          PERSONAL JURISDICTION
15
     BRAND TECHNOLOGIES, INC., an Ohio                    [Opposition and Declaration of Gareth
16   corporation; BRANDTECH, a business
     form unknown; GOSSIPGIRLS.COM, a                     Thomas filed concurrently]
17   business form unknown; CELEBRITY-
     GOSSIP.NET, a business form unknown;                 Date:    July 13, 2009
18   BRAD MANDELL, an individual; and                     Time:     1:30 p.m.
     DOES 1-10 INCLUSIVE,                                 Court:   790, Roybal Building
19
20        Defendants.
21   ___________________________________
22
23              I, Peter Afrasiabi, declare as follows:

24
25   1.         I am an attorney at law, duly licensed to practice before all Courts of the State of

26   California, and admitted to practice in the United States District Court for the Central

27   District of California. I am a partner of the firm Turner, Green, Afrasiabi & Arledge LLP,

28   attorneys of record in this action for Plaintiff Mavrix Photo, Inc. I have personal
      14957.1                                             1
      DECLARATION OF PETER AFRASIABI IN SUPPORT OF OPPOSITION TO DISMISS COMPLAINT
                          FOR LACK OF PERSONAL JURISDICTION
 Case 2:09-cv-02729-PSG-JC Document 19-2 Filed 06/29/09 Page 2 of 52 Page ID #:194



 1   knowledge of the facts set forth herein, and could and would testify competently thereto if
 2   sworn as a witness.
 3   2.         On June 24, 2009, I logged onto www.celebritygossip.com, one of Defendants’
 4   websites as discussed in Mr. Mandell’s declaration. The www.celebritygossip.com URL
 5   instantly resounds to another of Defendants’ websites www.gossipcenter.com. I clicked on
 6   the link to the Ticket store which goes to the GossipGirls.com Ticket Center™ where I
 7   bought a ticket to the Ringling Brothers and Barnum & Bailey Circus for July 12, 2009 at
 8   the Staples Center in Los Angeles. True and correct copies of the receipt, checkout
 9   confirmation page, and E-mail confirmation are attached as Exhibits A, B, and C,
10   respectively.
11   3.         The GossipGirls.com Ticket Center™ allows one to select dates and purchase tickets
12   in various cities in California, as evidenced by Exhibit D.
13   4.         Exhibit E is a true and correct copy of a website printout from Defendants’
14   www.celebrity-gossip.net site that identifies “Featured Jobs” in L.A. as well as relevant
15   partners of Defendants. Pages 2 and 3 identify a series of blog comments under the
16   heading “Recent Comments” by various people discussing the actress-model Megan Fox.
17   5.         Exhibit F is a true and correct copy of Defendants’ website www.celebrity-gossip.net
18   that allows users to sign up and subscribe to a Celebrity Newsletter (page 2 of Exhibit F.)
19   It also identifies further comments of blog users at pages 2-3 with a button for users to
20   “Leave a Comment” also on page 2.
21   6.         Exhibit G is a true and correct copy of the celebrity-gossip.net page one lands at if he
22   clicks on the “Syndication” link identified in Exhibit F at page 2.
23   7.         Exhibit H is a true and correct copy of the homepage of
24   gossipgirls.com/gossipcenter.com which on page 2 identifies the “Gossip Center”
25   Membership Club people can join.
26   8.         Exhibit I is a true and correct copy of gossipgirls.com/gossipcenter.com “Advice”
27   page where users can upload questions and receive advice and answers to their questions.
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      14957.1                                           2
      DECLARATION OF PETER AFRASIABI IN SUPPORT OF OPPOSITION TO DISMISS COMPLAINT
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 1   9.         Exhibit J is a true and correct copy of celebrity-gossip.net’s page that requests users
 2   to submit their information or pictures of celebrities, which page one lands at if he clicks on
 3   the “Submissions” link on the “Site Navigation” bar on the home page as identified in page
 4   2 of Exhibit J.
 5   10.        The bottom of page 3 of Exhibit E identifies Incendia Technologies as the
 6   Defendants’ website designer and programmer. Exhibit K is a true and correct copy of
 7   Incendia’s website pages that identifies Ojai as the headquarters (page 2 of Exhibit K).
 8   11.        Page 2 of Exhibit D identifies Defendants’ “Partners.” Exhibit L is a true and correct
 9   copy of Fox News’ California Secretary of State information and Exhibit M is a true and
10   correct copy of Glam Media’s website listed offices in California (and New York and other
11   countries).
12   12.        Exhibit N is a true and correct copy of Defendants’ “Mobile Phone Version” of its
13   website, launched with its stated partner “Quattro Wireless.” The page is reached by
14   clicking on the top menu tab entitled “GG Mobile News.”
15   13.        Exhibit O is a true and correct copy of Quattro Wireless’ website printout, which
16   identifies offices in Los Angeles and Irvine, California.
17   14.        Exhibit P is a true and correct copy of celebrity-gossip.com’s website page, reached
18   by clicking their “Videos” top link button (which can be seen at the top of Exhibit E, for
19   example), which I printed.
20   15.        Exhibit Q are true and correct copies of web site traffic results for www.celebrity-
21   gossip.net, msnbc.com and bbc.com, as well as copies of an internet discussion of the
22   general number of web sites in the world.
23              I declare that the foregoing is true and correct to the best of my ability under penalty
24   of perjury under the laws of the United States of America. Executed this 29th day of June,
25   2009 at Costa Mesa, California.
26
27                           ________________________________________
28                                               Peter Afrasiabi
      14957.1                                           3
      DECLARATION OF PETER AFRASIABI IN SUPPORT OF OPPOSITION TO DISMISS COMPLAINT
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